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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                      NorthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         California


     CENTER FOR BIOLOGIAL DIVERSITY; and                                          )
           FRIENDS OF THE EARTH,                                                  )
                                                                                  )
                                                                                  )
                            Plaintiff(s)                                          )
                                                                                  )
                                v.                                                                 Civil Action No. 4:21-cv-345 KAW
                                                                                  )
   NOAA FISHERIES; CHRIS OLIVER, Assistant                                        )
  Administrator for Fisheries; U.S. COAST GUARD;                                  )
  ADMIRAL KARL L. SCHULTZ, Commandant, U.S.                                       )
                     Coast Guard                                                  )
                           Defendant(s)                                           )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) NOAA Fisheries
                                           1315 East-West Highway
                                           Silver Spring, MD 20910




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brian Segee
                                           CENTER FOR BIOLOGICAL DIVERSITY
                                           660 S. Figueroa St., Suite 1100
                                           Los Angeles, CA 90017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                      NorthernDistrict
                                                   __________ Districtof
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                                                                         California


     CENTER FOR BIOLOGIAL DIVERSITY; and                                          )
           FRIENDS OF THE EARTH,                                                  )
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                            Plaintiff(s)                                          )
                                                                                  )
                                v.                                                                 Civil Action No. 4:21-cv-345 KAW
                                                                                  )
   NOAA FISHERIES; CHRIS OLIVER, Assistant                                        )
  Administrator for Fisheries; U.S. COAST GUARD;                                  )
  ADMIRAL KARL L. SCHULTZ, Commandant, U.S.                                       )
                     Coast Guard                                                  )
                           Defendant(s)                                           )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Chris Oliver, Assistant Administrator for Fisheries
                                           NOAA Fisheries
                                           1315 East-West Highway
                                           Silver Spring, MD 20910




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brian Segee
                                           CENTER FOR BIOLOGICAL DIVERSITY
                                           660 S. Figueroa St., Suite 1100
                                           Los Angeles, CA 90017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                       NorthernDistrict
                                                    __________ Districtof
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                                                                          California


     CENTER FOR BIOLOGIAL DIVERSITY; and                                            )
           FRIENDS OF THE EARTH,                                                    )
                                                                                    )
                                                                                    )
                            Plaintiff(s)                                            )
                                                                                    )
                                v.                                                                   Civil Action No. 4:21-cv-345 KAW
                                                                                    )
   NOAA FISHERIES; CHRIS OLIVER, Assistant                                          )
  Administrator for Fisheries; U.S. COAST GUARD;                                    )
  ADMIRAL KARL L. SCHULTZ, Commandant, U.S.                                         )
                     Coast Guard                                                    )
                           Defendant(s)                                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Commandant CG-LCL
                                           US Coast Guard HQ
                                           2703 Martin Luther King Jr. Ave, S.E., Stop 7213
                                           Washington, D.C. 20593-7213




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brian Segee
                                           CENTER FOR BIOLOGICAL DIVERSITY
                                           660 S. Figueroa St., Suite 1100
                                           Los Angeles, CA 90017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                       NorthernDistrict
                                                    __________ Districtof
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                                                                          California


     CENTER FOR BIOLOGIAL DIVERSITY; and                                           )
           FRIENDS OF THE EARTH,                                                   )
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                                                                                   )
                            Plaintiff(s)                                           )
                                                                                   )
                                v.                                                                   Civil Action No. 4:21-cv-345 KAW
                                                                                   )
   NOAA FISHERIES; CHRIS OLIVER, Assistant                                         )
  Administrator for Fisheries; U.S. COAST GUARD;                                   )
  ADMIRAL KARL L. SCHULTZ, Commandant, U.S.                                        )
                     Coast Guard                                                   )
                           Defendant(s)                                            )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Admiral Karl L. Schultz, Commandant
                                           Commandant CG-LCL
                                           US Coast Guard HQ
                                           2703 Martin Luther King Jr. Ave, S.E., Stop 7213
                                           Washington, D.C. 20593-7213



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brian Segee
                                           CENTER FOR BIOLOGICAL DIVERSITY
                                           660 S. Figueroa St., Suite 1100
                                           Los Angeles, CA 90017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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     CENTER FOR BIOLOGIAL DIVERSITY; and                                         )
           FRIENDS OF THE EARTH,                                                 )
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                            Plaintiff(s)                                         )
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                                v.                                                                Civil Action No. 4:21-cv-345 KAW
                                                                                 )
   NOAA FISHERIES; CHRIS OLIVER, Assistant                                       )
  Administrator for Fisheries; U.S. COAST GUARD;                                 )
  ADMIRAL KARL L. SCHULTZ, Commandant, U.S.                                      )
                     Coast Guard                                                 )
                           Defendant(s)                                          )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Attorney General
                                           U.S. Department of Justice
                                           950 Pennsylvania Avenue, N.W.
                                           Washington, D.C. 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brian Segee
                                           CENTER FOR BIOLOGICAL DIVERSITY
                                           660 S. Figueroa St., Suite 1100
                                           Los Angeles, CA 90017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                                                       NorthernDistrict
                                                    __________ Districtof
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                                                                          California


     CENTER FOR BIOLOGIAL DIVERSITY; and                                           )
           FRIENDS OF THE EARTH,                                                   )
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                            Plaintiff(s)                                           )
                                                                                   )
                                v.                                                                   Civil Action No. 4:21-cv-345 KAW
                                                                                   )
   NOAA FISHERIES; CHRIS OLIVER, Assistant                                         )
  Administrator for Fisheries; U.S. COAST GUARD;                                   )
  ADMIRAL KARL L. SCHULTZ, Commandant, U.S.                                        )
                     Coast Guard                                                   )
                           Defendant(s)                                            )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Civil Process Clerk
                                           David L. Anderson, United States Attorney
                                           Federal Courthouse
                                           450 Golden Gate Avenue
                                           San Francisco, CA 94102



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brian Segee
                                           CENTER FOR BIOLOGICAL DIVERSITY
                                           660 S. Figueroa St., Suite 1100
                                           Los Angeles, CA 90017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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